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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION



LA ROSA FRANCHISING, LLC and
LA ROSA REALTY, LLC,                                      CASE NO: 6:21-CV-01660-ACC-DCI

                 Plaintiffs,
            v.

ANA IVELISSE MORALES and
LA ROSA REALTY PUERTO RICO, PSC,

            Defendants.
_________________________________________/



                     PLAINTIFFS’ MOTION FOR EXTENSION OF TIME
                         TO COMPLETE SERVICE OF PROCESS

       The Plaintiffs, by and through their undersigned counsel and pursuant to Rules 4 and 6 of

the Federal Rules of Civil Procedure, hereby file their Motion requesting a sixty (60) day extension

of time within which to serve process upon the Defendants, and show the Court that:

       1.        Pursuant to the Federal Rules of Civil Procedure, service of process is required to

be completed by January 4, 2022.

       2.        The Plaintiffs have engaged in substantial activities to locate and serve process

upon the Defendants both in this District and in Puerto Rico where the Defendants are also

expected to be found.

       3.        These efforts have included the use of process servers in both Florida and Puerto

Rico and multiple attempts to serve the Defendants.
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       4.      Prior to filing this action, the parties engaged in substantial and continuous

discussions to avoid litigation. Once the Complaint was filed, Defendants became unavailable

through counsel or otherwise and have evaded service of process. A request to the Defendants’

counsel that represented them in negotiations prior to suit to accept service of process was

denied. A request for the same on the Defendants’ purported Puerto Rico counsel for acceptance

of service was also rejected.

       5.       Defendant, LA ROSA REALTY PUERTO RICO, PSC has its registered agent

listed as Defendant, ANA IVELISSE MORALES, at 131 LOS GATOS PL, KISSIMMEE, FL

34759. Defendants have refused to make their Registered Agent available as required by

Florida Statutes. After diligent and multiple efforts to serve the Defendants at this and other

locations, including Defendants’ registered office in Puerto Rico, Plaintiffs have yet to locate the

Defendants. The Defendants appear now to be non-residents and located in Puerto Rico. After

diligent search, process was delivered upon a person believed to be ANA IVELISSE MORALES

who refused to identify herself.

       6.      The Plaintiffs’ Process Server in Puerto Rico went to the Defendants’ office

located in Puerto Rico and a person believed to be ANA IVELISSE MORALES showed up for

the meeting. The Process Server delivered the Complaint and Summonses for the Defendants to

such person who “threw them back” saying “I am not Ana Morales”. The Process Server took a

picture of the person’s license plate as she drove off.

       7.      Defendants are concealing their whereabouts and avoiding service of process.

Additional time is needed in good faith for the Plaintiffs to perfect service upon the Defendants,

verify the identity of the person believed to be ANA IVELISSE MORALES, including

investigation into the license plate on the vehicle of the person who denied her identity as one of
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the Defendants or for Plaintiffs to seek substitute service on the Defendants via the Secretary of

State and the approval of the same from the Court.

       8.       Plaintiffs require this extension to further attempt to personally serve the

Defendants, Amend the Complaint to allege the basis of alternative service, as required prior to

requesting the Secretary of State to accept service of process, request new summonses to the

Defendants care of the Secretary of State, gather additional evidence of the non-residency of the

Defendants and their efforts to conceal their whereabouts or otherwise evade service and to file

a Motion for Approval of Substitute Service.

       9.       Pursuant to Rule 6(b) of the Federal Rules of Civil Procedure, when an act may

or must be done within a specified time, the court may, for good cause, extend the time if a

request is made before the original time.

       10.      This Motion is made before the original time to complete the acts required. Good

cause exists to grant this Motion based upon the good faith efforts of the Plaintiffs and the time

reasonably necessary to comply with Rule 4 of the Federal Rules of Civil Procedure.

       11.     Accordingly, Plaintiffs respectfully request an additional sixty (60) days to

achieve personal service upon the Defendants or to seek substitute service of process and to file a

motion for approval of the same before this Court.



                                        DATED this 4th day of January 2022.


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                                        Attorney for Plaintiffs

                                        By:     /s/ Carlos J. Bonilla
                                                Carlos J. Bonilla
                                        By:     /s/ Vincent B. Lynch
                                                Vincent B. Lynch



                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 4, 2022, I electronically filed the foregoing with the Clerk
of Court by using the CM/ECF system, which will send a notice of electronic filing to all
registered users and that a copy of which was mailed to the last known addresses of the
Defendants.

                                        By:     /s/ Vincent B. Lynch
                                                Vincent B. Lynch
